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UNITED STATES DISTRICT coURT
DISTRICT oF CONNECTICQ&§- » v

WHITSERVE LLC, .
Plaintiff, z

.-`: ,:j'\
V. : Case No. 3:06-CV-l935(AVC)
COMPUTER PACKAGES, INC.,

Defendant.

VERDICT FORM

We the jury unanimously find as follows:

FINDINGS ON INFRINGEMENT CLAIMS

(The questions regarding infringement should be answered
regardless of your findings with respect to the validity or
invalidity of the patent)

1. Infringement

WhitServe has asserted that CPi's accused products infringe
one or more claims of the WhitServe patents. For each
individual claim asserted by WhitServe answer the following
question:

Has WhitServe proven by a preponderance of the evidence
that an asserted claim of the WhitServe patents is infringed by
a CPi product? Answer the question by circling either yes or
no. A “yes” answer means CPi infringes the asserted claim. A

“no” answer means CPi does not infringe the asserted claim.

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Infringement

Cl. l - ‘468

Cl. 2 ~ ‘468
Cl. 3 - ‘468
Cl. 4 - ‘468
Cl. 5 - ‘468
Cl. 6 - ‘468
Cl. 7 - ‘468

Cl. 8 - ‘468

Cl. 9 - ‘468

Cl. 10 - ‘468

Cl. ll - ‘468

Cl. 12 - ‘468

Cl. 17 - ‘468

Cl. 24 - ‘468

Cl. 25 - ‘468

Cl. 26 - ‘468

Cl. 27 - ‘468

of U.S. Patent No. 5,895,468 (exhibit PLT 001)

Desktop
EARS/ CPi Hosted
TERMS OnLine EARS

 

patent? @ No @/No
(YesyNo

patent?

 

patent?
patent?
patent?
patent?
patent?
patent?
patent?
patent?
patent?
patent?
patent?

patent?

 

patent?
patent?

patent?

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Infringement of U.S. Patent No. 6,049,§§1 (exhibit PLT 003)
CPi
OnLine

Cl. 1 - ‘801 patent?

Cl. 2 - ‘801 patent?

Cl. 3 - ‘801 patent?

Cl. 5 - ‘801 patent?

Infringement of U.S. Patent No. 6,182,92§ (exhibit PLT 005)
Desktop CPi Hosted
EARS OnLine M
/TERMS

Cl. 1 - ‘078 patent? Ye /No (§§§>No (§;S/No

Cl. 2 - ‘078 patent? /NO

Cl. 4 - ‘078 patent? (Yes?No

Cl. 5 - ‘073 patent? ¢YeS/No

Cl. 6 - ‘078 patent?

cl. 7 - ‘078 patent?

Cl. 8 - ‘078 patent?

Cl. 9 - ‘078 patent? §::ZNO

Cl. 10 - ‘078 patent? Q/No

Cl. ll - ‘078 patent?

 

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Infringement of U.S. Patent No. 6,981,007 (exhibit PLT 007)

Desktop Hosted Hosted
EARS EARS
Cl. 1 - ‘007 patent? @/No
"
cl. 2 - ‘007 patent? @/No
cl. 3 - ‘007 patent? @./No
Cl. 7 - ‘00'7 patent? @No
Cl. 8 - ‘00'7 patent? G/No
"'
Cl. 9 - ‘00'7 patent? @/No
Cl. 10 - ‘007 patent? @/No @No
'
Cl. 11 - ‘007 patent? /No
cl. 12 - ‘007 patent? gmc
Cl. 13 - ‘007 patent? Q-/No
‘17
Cl. 14 - ‘007 patent? ®/No
c1. 15 ~ ‘007 patent? Q/No
'-r

 

2. Willful Infringement

WhitServe has asserted that CPi willfully infringed the
WhitServe patent claims. For each patent answer the following
question:

Has WhitServe proven by clear and convincing evidence that
CPi, through any product, has willfully infringed the WhitServe

patents? Answer the question by circling either yes or no. A

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“yes” answer means CPi willfully infringed the patent. A “no"

answer means CPi did not willfully infringe the patent.

Willful Infringement

 

U.S. Patent No. 5,895,468?
U.S. Patent No. 6,049,801?
U.S. Patent No. 6,182,078?

U.S. Patent NO. 6,981,007?

 

3. INVALIDITY

CPi has asserted that the WhitServe patent claims are
invalid. For each individual claim asserted answer the
following question:

Has CPi proven by clear and convincing evidence that an
asserted claim of the WhitServe patents is invalid? Answer
the question by circling either yes or no. A “yes” answer means

the claim is invalid. A “no” answer means the claim is valid.

Invalidity of U.S. Patent No. 5,895,468 (exhibit PLT 001)

Cl. 1 - ‘468 patent? YestNo)
Cl. 2 - ‘468 patent? Yesto)

Cl. 3 - ‘468 patent? YesJN§}
Cl. 4 - ‘468 patent? Yes!No>

Cl. 5 ~ ‘468 patent? Yes Noj

Cl. 6 - ‘468 patent? YesQNo)

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Cl. 7 - ‘468 patent?

Cl. 8 » ‘468 patent?

Cl. 9 - ‘468 patent?

Cl. 10 - ‘468 patent?
Cl. 11 - ‘468 patent?
Cl. 12 - ‘468 patent?
Cl. 17 » ‘468 patent?
Cl. 24 - ‘468 patent?
Cl. 25 - ‘468 patent?
Cl. 26 - ‘468 patent?

Cl. 27 - ‘468 patent?

 

Invalidity Of U.S. Patent NO. 6,049,8 l (exhibit PLT 003}

Cl. 1 - ‘801 patent? YesgNo)
Cl. 2 - ‘801 patent? YeséNo)

Cl. 3 - ‘801 patent? YesgNo)

Cl. 5 - ‘801 patent? Yes£Nod

Invalidity of U.S. Patent No. 6,182,§1§ (exhibit PLT 005)
Cl. 1 - ‘078 patent?
Cl. 2 - ‘078 patent?
Cl. 4 » ‘078 patent?
cl. 5 - ‘073 patent?

Cl. 6 - ‘078 patent?

 

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. /,\
cl. 7 - ‘078 patent? res No)

Cl. 8 - ‘078 patent? Yes No
Cl. 9 - ‘078 patent? Yes o
Cl. 10 - ‘078 patent? Yes No`
Cl. 11 - ‘078 patent? Yes No

Invalidity of U.S. Patent No. 6,981,007 (exhibit PLT 007)

Cl. 1 - ‘007 patent?
Cl. 2 - ‘007 patent?
Cl. 3 - ‘007 patent?
Cl. 7 - ‘007 patent?
Cl. 8 - ‘007 patent?
Cl. 9 - ‘007 patent?
Cl. 10 - ‘007 patent?

Cl. 11 - ‘007 patent?

 

Cl. 12 - ‘007 patent?

Cl. 13 - ‘007 patent? Yes®
`_'

Cl. 14 - ‘007 patent? Yes
'

Cl. 15 - ‘007 patent? YesENo|

4. Damages

FIN'DINGS ON DAMAGES

If you find that CPi infringes the WhitServe patents and
that the patents are valid, answer the following questions

What amount is WhitServe entitled to for damages?

$ S.Bjr@ \45.0©

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You have now completed your deliberations. Please date and
sign this form below.

in
Dated at Hartford, Connecticut this_; § day of May, 2010.

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